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EXHIBIT H

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

Drew J. Ribar,

Plaintiff,

V.

State of Nevada ex rel. Nevada Department of Corrections, Carson City, et al.,
Defendants.

Case No. 3:24-cv-00103-ART-CLB

EXHIBIT H — Nevada Pretrial Risk Assessment and Judicial Response Form

(Bates Nos. EXO18-EX021)
Filed in Support of Amended Complaint and Summary Judgment Motion (Fed. R. Civ. P.

56)

Plaintiff Drew J. Ribar, pro se, submits Exhibit H, comprising the Nevada Pretrial Risk
Assessment (NPRA, Bates Nos. EX019-EX020) and Carson City Justice and Municipal Court
Judicial Response form (Bates Nos. EX021), obtained via discovery in Case No. 22 CR 01231
1C (dismissed). Filed manually per LR IC 2-2 with a Notice of Manual F iling, this exhibit
provides standalone post-arrest evidence, cross-referencing Exhibits CF to support Plaintiff’ s

Rule 56 motion and constitutional claims.

Key Evidence and Legal Violations

PLEADING TITLE - |

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Section Incident

Lists two charges

(NRS 207.200, NRS

NPRA

197.190) instead of
(Bates

three in the Probable
EX018-

Cause Declaration;
EX020)

incomplete risk

scoring.
Judicial

Legal Relevance Cross-Reference

Demonstrates charging inconsistency

supporting malicious prosecution

under the Fourth Amendment Exhibit F (Probable
(Thompson y. Clark, 142 S. Ct. 1332, Cause, three

2022); flawed pretrial process violates charges); Exhibit C,
procedural due process under the 01:05:13.333 (no
Fourteenth Amendment (Mathews v. _ signage); Exhibit D,
Eldridge, 424 U.S. 319, 1976); arrest 0:20:56 (no

pretext linked to protected filming obstruction basis).
activity (Fordyce v. Seattle, 55 F.3d

436, 9th Cir. 1995).

Reflects lack of judicial oversight and
failure to implement least-restrictive

means per NRS 178.4851; procedural
Exhibit E, 0:01:04—

Response Blank form—no bail due process violation (Parratt v.

(Bates set, no release
EX02 1— conditions checked.

EX022)

0:01:20 (threats to
Yaylor, 451 U.S. 527, 1981); supports

Plaintiff's business);
inference of retaliation (Nieves v.

Exhibit F, pages 2-3.
Bartlett, 139 8S. Ct. 1715, 2019; Board

of County Comm'rs v. Umbehr, 518

U.S. 668, 1996).

PLEADING TITLE - 2

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Legal Claims Supported

First Amendment (42 U.S.C. § 1983): Plaintiff's arrest and post-arrest processing were
initiated in retaliation for lawful recording (Vordyce, Glik v. Cunniffe, 655 F.3d 78;
Irizarry v. Yehia, 38 F.4th 1282; Nieves, Umbehr; NRS 171.1233).
Fourth Amendment (42 U.S.C. § 1983): Malicious prosecution via inconsistent
charging (Thompson), and extended seizure without legal justification (Soldal v. Cook
County, 506 U.S. 56, 1992; Rodriguez v. United States, 575 U.S. 348, 2015).
Fifth Amendment: Late Miranda warning acknowledged but not addressed in judicial
processing (Miranda v. Arizona, 384 U.S. 436, 1966), supported by Exhibit D, 0:20:56.
Fourteenth Amendment: Deficient pretrial process violates procedural due process
(Mathews, Parratt); economic harm to Plaintiffs livelihood due to retaliatory arrest
supports substantive due process claims (Meyer v. Nebraska, 262 U.S. 390, 1923; County
of Sacramento v. Lewis, 523 U.S. 833, 1998).
Municipal Liability (Monell): CCSO’s practice of retaliatory enforcement is evidenced
by:

o Exhibit E, 0:01:20 (“my bosses”);

o Exhibit C, 01:01:33.500 (“we want it gone” re: Plaintiff's truck);

o and the blanket, unchecked judicial form (Exhibit H, EX021-EX022).

These acts, individually and cumulatively, show custom or tolerance of retaliation
(Monell v. Dept. of Soc. Servs., 436 U.S. 658, 1978).

State Law Claims (28 U.S.C. § 1367):

o False imprisonment (NRS 200.460);

PLEADING TITLE - 3

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oO

oO

Oppression under color of law (NRS 197.200);
Intentional interference with prospective economic advantage (via A&A Towing,

Inc.).

Summary Judgment Purpose (Fed. R. Civ. P. 56)

These post-arrest processing flaws—including inconsistent charging, incomplete risk assessment,
and judicial inaction—contradict constitutional standards and reinforce the retaliatory motives
documented in Exhibits C-F. Combined with video and documentary evidence, Exhibit H
establishes undisputed facts that preclude a genuine dispute as to material facts, entitling

Plaintiff to judgment as a matter of law.

Qualified Immunity Defeat

Defendants’ actions violated clearly established rights per Pearson v. Callahan, 555 U.S. 223

(2009):

¢ First Amendment retaliation (Fordyce, Nieves, Umbehr);
e Fourth Amendment malicious prosecution (Thompson, Soldal);
¢ Fifth and Fourteenth Amendment violations (Miranda, Mathews, Parratt);

¢ Municipal liability via Monell (patterns of inaction and retaliatory towing/arrest).

PLEADING TITLE - 4

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Defendants’ conduct was objectively unreasonable, not negligent, and no “security” or
“caretaking” rationale justifies their actions (Kingsley v. Hendrickson, 576 U.S. 389, 2015;

Harlow v. Fitzgerald, 457 U.S. 800, 1982),

Authentication

Per Fed. R. Evid. 901, I, Drew J. Ribar, declare under penalty of perjury that the Nevada Pretrial
Risk Assessment (Bates EX018—EX020) and Judicial Response form (Bates EX021-EX022)
were obtained via discovery in Case No. 22 CR 01231 1C and accurately reflect Defendants’

post-arrest actions on August 30, 2022.

Dated: March 27, 2025

/s! Drew J. Ribar

Drew J. Ribar

3480 Pershing Ln

Washoe Valley, NV 89704
Tel: (775) 223-7899

Email: Const2Audit@gmail.com

PLEADING TITLE - 5

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Scanned to DA Group

CARSON CITY SHERIFF'S DEPARTMENT CARE # 2022-5359 DAs BY:

ARREST REPORT REFER TO coun» DATE/TIME

PHOTO RELEASE Ye Ho QFNOY

er Faves Oo 50 pap Coren:

PIO PHONE # LJ NHP DAS

QEFENDANT (Nama) AKALS} | i

Aareetee No. An Ribar, Drew Joseph

REBIDENCE ADORESS HOME PHONE

HONE
3480 Pershing Ln. Washoe Valley, NV 89704 nw +s
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W i swhite oe Ete rr Male i Hispanic oxooriese

& Black Unie F |] Female N ¥ Non-Hispanic a

tid u Unknown §3 .
“ERERTEES VERRLE [y]impounded [yFrow YARD i, [O08F. VaRE PTEVIDERS

[2 JNot Applicable ft at Scene LOCATION OF VEHICLE:IF AUTHORIZED BY R/O RELEASED To: NAME, D.0.8 & PHONE #

(seized 'd to other Cal-Neva

VEMICLE MAKE * VEHICLE YEAR LICENSE

GMC 2014 OTHER WCE593
REGISTERED OWNER OF VERECLE VIN RUMBER fF A) EE: (COLOR OF VEMICLE
BLK
B/30/22 me 1352 tocaton 1721 SNYDER AVE Carson City, NV
Homa phone poe
Ee
vv

pare BI30/22 omc 1448 LOCATION
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iy Dounty of Carson Cty, Bate of Nevada, the defendant ebova named, did willy, comm ihe folowing affense(e), 10 wit

bo we LL RaREIIS BAIT Con
OFFENSE: NIBRS LITERAL NOC CODE ADMIN, ASSMNT, WARRANT NUMBER & DATE
207.200 js
' Trasspassing TRSPS M $150
83166 [a $92 |
197.190 |s
4 Obstructing Public Officer bis M 3500
82312 |a $137 |
It ZoS. 114 /° seo
Dastue® Peace Puncre Reve DS BIS | mw S333 /* A's 37) |
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EXO)}b

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Case Number: 2022-5359

DECLARATION OF PROBABLE CAUSE
DEFENDANT=S DEFENDANT=S
NAME NAME
ARRESTEE NO. A-1 Ribar, Drew Joseph ARRESTEE NO. A-3
DEFENDANT=S DEFENDANT=S
NAME NAME
ARRESTEE NO. A-2 ARRESTEE NO. A-4

The undersigned declarant, a Peace Officer of the City-County of Carson City, hear by declares under penalty of perjury, that the above-named defendant
(or defendants) has been arrested an probable cause and is subject to detention for the-offense(s) stated on the attached criminal complsint, Either personally
or upon information and belief this officer learned the following facts and circumstances which support the arrest and detention:

On 8/30/2022 at 1353 hours, | responded to 172} Snyder Ave, Northern Nevada Correctional Center (NNCC) in reference to a suspicious
subject on prison property, Prison Officials advised Dispatch, a male subject was parked on prison property, refusing to leave. We routinely
respond to prisons in Carson City for suspicious activity, especially vehicles, due to concerns of potential involvement in escape.

Upon arrival, | made contact with Sgt. Smith from Nevada Department of Corrections, he described responding to meet with a male subject,
later identified as Drew Ribar, who parked on the prison entrance road and began filming restricted areas. Sgt. Smith advised Drew the area
was restricted State property and he was not authorized to remain on the property or continue his activities. Sgt. Smith instructed Drew on
how to obtain authorization to film on the prison grounds, but the subject refissed and began walking toward the main prison gates, while
filming the area, including fence lines and security measures as well as private vehicles of staff in the parking lot.

Due to the security risk posed to the property, staff and inmates, as Drew was uncooperative and ignoring lawful orders to leave and without
knowing his further intentions, Sgt. Smith initiated a lock down of the entire facility and surrounding areas. This includes moving hundreds of
inmates and staff to secure locations and verifying everyone is accounted for and the facility is secure.

As the Drew approached the main gates and fence line, Lt. Aaron Ryer contacted him and told him multiple times to leave the property. Drew
refused all orders to leave and continued filming the sensitive security areas.

Warden Frazier Fernandeis, was alerted to the situation and contacted Drew in front of the administrative building. Warden Fernandeis asked

Drew to identify himself, but Drew refused. Warden Fernandeis then repeated orders to leave the property immediately and to cease filming
security measures on the property. Drew refused and continued disrupting all operations in the facility and on the property.

WHEREFORE, Declarant requests that a finding be made by a magistrate that probable cause exists to hold the said person for
preliminary hearing (if offense charged is a felony or gross misdemeanor) or for trial (if charge is a misdemeanor).

DECLARANT: Dep. Bueno “ZG ae, INO 5443

PRIVATE PERSON PRIVATE
MAKING ARREST PERSON=S
(CITIZEN ARREST): ADDRESS:
ARRESTING OFFICER: Dep. J. Bueno #5443 DAYS OFF REVIEWING

SAT/SUN/MON SUPERVISOR

AND ID NO.

DAY SHIFT
REVIEWED FOR PROBABLE CAUSE (PC)
PC FOUND Q  PCNOTFOUND Q DATE TIME nn , MAGISTRATE
ORDER TO RELEASE DEFENDANT
FROM CUSTODY DATE. TIME __» MAGISTRATE

a
EX°)}7

a a an

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Case Number: 2022-3359
DECLARATION OF PROBABLE CAUSE

DEFENDANT=S DEFENDANT=S
NAME NAME

ARRESTEE NO. A-1 Ribar, Drew Joseph ARRESTEE NO. A-3
DEFENDANT=S DEFENDANT=S
NAME NAME

ARRESTEE NO. A-2 ARRESTEE NO. A-4

The undersigned dectarant, a Peace Officer of the City-County of Carson City, hear by declares under penalty of perjury, that the above-named defendant

{or defendants} has been arrested on probable cause and is subject to detention for the offense(s) stated on the attached criminal complaint. Either personalty

or upon information and belief this officer teamed the following facts and circumstances which support the arres! and detention:

I spoke with Warden Femandeis, who confirmed Drew was asked to identify himself, but he refused. Confirmed Drew was asked to leave
multiple times, but he refused, causing severe disruption of all operations on the property. Confirmed he was filming security measures and
fence lines around the facility, posing a safety and security risk. Confirmed Drew was advised the proper way to access the property officially
to conduct his business, but he refused.

Warden Fernandeis requested Drew be taken into custody. I placed Drew in handcuffs, ensured proper fit and secured him in my patrol
vehicle. Drew wanted to debate and argue his position and rights. He was Mirandized, though he declined to answer questions, opting to
continue with his own. I declined to debate the situation with him further and transported him to the jail where he was booked for Trespassing,
Obstructing and Public Officer and Disturbing the Peace of Public Grounds.

NFI
WHEREFORE, Declarant requests that a finding be made by a magistrate that probable cause exists to hold the said person for
preliminary hearing (if offense charged is a felony or gross misdemeanor) or for trial (if charge is a misdemeanor).
DECLARANT: Dep, Bueno ID NO: 5443
PRIVATE PERSON PRIVATE
MAKING ARREST PERSON=S
(CITIZEN ARREST): ADDRESS:
ARRESTING OFFICER: Dep. J. Bueno #5443 DAYS OFF REVIEWING
SAT/SUNMON | SUPERVISOR
AND ID NO.
DAY SHIFT

REVIEWED FOR PROBABLE CAUSE (PC)
PC FOUND @ PC NOT FOUND Q DATE TIME oe » MAGISTRATE

ORDER TO RELEASE DEFENDANT
FROM CUSTODY DATE TIME , MAGISTRATE

EXc)?

S-20A Rev. (795

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NEVADA PRETRIAL RISK ASSESSMENT (NPRA)

Case/Booking#: 22-5359

Assessment Date: 8 30,2022 County: |
Defendant's Name: Ribar, Drew Military Status: _n/a

DoR: > 9 1968 Place of Birth: Unknown Contact Phone#; Not Provided

Address; 3480 Pershing Ln 3 Was x
treet ity state Pp

Demographic Information {eptional): Gender: [Vale [}Female

Race: [/]Htispanic\ White Cj] African American [-] American Indian/Alaska Native CJ] Astan CJ Native Hawalian/

Primary Language: [W]English [_]spanish ["]chinese [_]French [_Jother: Pacific Islander
Arrest Information; PCNE

Arresting Agency CCSO Arrest Date: 8/30/2022

NOC Feval Descristion Count NOC Level Description Count

53166 M__ Tresspassing _ ]
22312_M Obstructing 1

Most Serious Charge: Obstructing
Initial Total Bail Set: $ 879 # of Current Charges: 2

iT;

1. Does the Defendant Have a Pend ing Pretrial Case at Booking?

4 Yes-2pts. Ifyes, list case # and jurisdiction:

b. No-Opts, oo
2. Age at First Arrest (include juvenile arrests) First Arrest Date: 8 30 12022

a. 20-yrs. and under - 2 pts.
b, 22-35 yrs, ~4 pt

C. 36yrs.and over - 0 pts, oO
3. Prior Misdemeanor Convictions {past 10 years)

a. None-0 pts.

b. One to five~1 pt.

ce Six ormore —2 pts, oO
4. Prior Felony/Gross Misd. Convictions (past 10 years)

a. None ~ pts,

b. Onéor more -1 pt. oO
5. Prior Violent Crime Convictions (past 10 years)

a. None- 0 pts.

b. One-~1 pt

c. Two ormore- 2 pts. Oo
6. Prior FTAs (past 24 months)

a. None-0 pts,

b. One FTA Warrant - 1 pt

¢. Two or more FTA Warrants ~ 2 pts. Oo
7. Employment Status at Arrest

a. Verifiable Full/Part-time Employment - 0 pts.

(e.g. Self-employed, Disabled and receiving benefits, Student, Retired, Military, Stay at Home Parent, ete.)

b. Unemployed ~ 1 pt, a
8. Residenttal Status Date of Residency: eet ne

a. Nevada Resident - living in current residence 6 months or longer ~ 0 pts,

b. Nevada Resident - not lived in same residence 6 months or longer - 1 pt.

c. Homeless or non-Nevada Resident - 2 pts a
9. Substance Abuse (past 10 years)

a, Other - 0 pts,

b. Prior multiple arrests for drug use or possession/alcohol/drunkenness - 2 pts, oo
10. Verified Cell and/or Landline Phone

a. Yes-Opts, If yes, list #: . i

b. No-1pt TOTALScORE: 3

Updated 04/21/2022

EX OIF

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Risk Level (Check One)-{“]LOW (0-4 pts.)[_ MODERATE (5 - 8 pts.) [_]HIGHER (9+ pts.) OVERRIDE?: Yes ["]nol]

Override Reason(s): Mental Health[] Disability[_] Gang Member [_] Flight Risk [7]
Prior Record More Severe than Seored{_ | Prior Record Less Severe Than Scorea[ ]
Other, explain:
Final Recommended Risk Level: [~]Low  []MODERATE [~] HIGHER
Supervisor/Designee Signature: “7*> _

Date: 8 30 /2022

CS aE Le

Interview Date: 8 £30 j 2022

Thereby affirm that I administered the Nevada Pretrial Risk Assessment Tool following the training I received
and certify my recommendation.

Print Sheriff Support Specialist or Deputy pame a en litany Initials: hS_ Badge # 9447
Print Supervisor name: Jee Rk. is Initials:_J¥O-Badge #3?

‘Upshatest 04/21/2022

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Carson City Justice and Municipal Court
Defendant's Name: Ribar, Drew Case/Booking#

122-5359

[_ ]Judge: Kristin Luis [" Jiudge:

oO

Judge: Tom Armstrong
Judicial Response

A) ) Own Recognizance Release. Report to the Department of Alternative Sentencing at 885 East
Musser Street, Suite 2080, upon release or next business day.
B) C Bail to remain as set on warrant. Report to Alternative Sentencing upon release or next business day.
C) D Impose bail $
D)O Cash only bail
E) Court Imposed Conditions include:
[4] Attend Court on Time drug/alcohol free.

Immediately inform the Court of your current residence and phone number and notify the court of
any changes,

(Report to the Department of Alternative Sentencing immediately pon release from jail, if closed
report at 8:30 a.m. the following business day for an intake interview. DAS {s ocated on the second
Sloor of the courthouse at 885 East Musser Street, Suite 2080. Do not report to DAS for traffic charges
unless the charge(s) involve Driving Under the Influence.

Obey all laws.
Contact your attorney and maintain contact as they require,
[Do not drive without valid driver's license, insurance and registration,

C) Do not contact the alleged victim(s) in Person, in writing, by phone, by social media, computer or e-mail,

from a detention facility, through another Person, or any other method. Do not go within 100 yards of
alleged victim'(s)

C)Felony DUI: SCRAM Monitor is required prior to release

(]Do not possess or consume alcohol, marijuana, illegal drugs, or drug paraphernalia.
[]Do not possess weapon(s).

()Pretrial supervision.

[Report for color code testing.

(JSearch and seizure for alcohol, drugs, and drug paraphernalia.

(C)Search and seizure for weapons.

(Other:

F) C Other Conditions:

The Court has reviewed the Nevada Pretrial Release Assessment and finds that the above bail and/or condition(s}
of release are the least restrictive means necessary to protect the safety of the community or ta ensure the person
will appear at the times and places ordered by the court. This document is ordered to be filed with the clerk of the
court and be made part of the official court record. (NRS 178.4851)

Date Judge Signature

Updated 04/21/2022

EX Oz)

